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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                  NO.   4:05CR00305-012 SWW

LUETTA FAYE GARNETT



                                      ORDER

       The above entitled cause came on for hearing on the government’s motion to

revoke the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.           Upon the basis of

statements on the record, the Court found that the defendant has violated the

conditions of supervised release without just cause.         However, the Court has

determined that defendant’s supervised release should not be revoked at this time

but instead will modify the conditions of her supervised release.

       IT IS THEREFORE ORDERED that defendant’s term of supervised release shall

be modified to include the following special conditions:

       1.    Defendant shall be placed in community confinement for
             a period of SIX (6) MONTHS. The Court recommends that
             defendant participate in AA or NA as often as feasible
             under the supervision and guidance of City of Faith, or
             other community confinement facility, or by the U.S.
             Probation Office.    The Court also recommends that
             defendant’s medical problems be addressed.

       2.    Defendant shall    maintain   or   be    actively   seeking
             employment.

       3.    Defendant shall abstain from the use of alcohol throughout her term
             of supervised release.

       4.    As directed by the Probation Office, Defendant shall attend AA
             or NA meetings, preferably on a daily basis, throughout her
             supervised release and will make arrangements to verify her
             attendance.


       All other conditions of defendant’s supervised release previously imposed

shall continue and remain in full force and effect until the expiration of his

term of supervised release.
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      The Court reminds defendant that any further violation of the terms of his

supervised release could result in revocation of his release.

      Defendant shall reside with her sister, actively seek employment and attend

AA or NA meetings daily pending placement at City of Faith, or other community

confinement facility.

      IT IS FURTHER ORDERED that the government’s petition to revoke defendant’s

supervised release [doc #1121] is dismissed without prejudice.

      DATED this 21st day of October 2010.




                                             /s/Susan Webber Wright
                                             United States District Judge
